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 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   Civic Center Square
     2300 Tulare Street, Suite 230
 3   Fresno, California 93721
     Telephone: (559) 237-6000
 4
     Attorney for Defendant, ANDREA TAYLOR
 5
 6                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7                        EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )              CASE NO. 06-CR-00323 LJO
                                 )
10        Plaintiff,             )
                                 )              STIPULATION AND ORDER
11   v.                          )              TO CONTINUE ARRAIGNMENT
                                 )
12   ANDREA TAYLOR,              )
                                 )
13        Defendant.             )
     ____________________________)
14
          The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the arraignment of Andrea Taylor, scheduled for April 27, 2007, be
16
     continued until May 10, 2007 at 9:00 a.m. in the above-entitled court.
17
          Ms. Taylor resides in the State of Washington. She has extremely limited
18
     funds. The agreed upon continuance would allow her to make travel
19
     arrangements in the most economical manner.
20
          The agreed upon date will afford sufficient time for defense counsel for Ms.
21
     Taylor to coordinate her future appearances with those of her co-defendants.
22
          The parties also agree that any delay resulting from this continuance shall
23
     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
24
     3161(h)(8)(A) and 3161(h)(8)(B)(I).
25
26   DATED: April 24, 2007              /s/ Laurel J. Montoya       __
                                        LAUREL J. MONTOYA
27                                      Assistant United States Attorney
                                        This was agreed to by Ms. Montoya
28                                      via telephone on April 23, 2007

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 1
     DATED: April 24, 2007              /s/ Roger K. Litman    __
 2                                      ROGER K. LITMAN
                                        Attorney for Defendant
 3                                      ANDREA TAYLOR
 4
     THE COURT HAS READ AND CONSIDERED THE REQUEST FOR CONTINUANCE, AND
 5
     FINDS GOOD CAUSE FOR BOTH THE CONTINUANCE AND THE EXCLUSION OF
 6
     TIME. THE COURT FINDS THAT THE INTERESTS OF JUSTICE ALLOW FOR SUCH
 7
     A FINDING DUE TO THE FINANCIAL CIRCUMSTANCES OF THE DEFENDANT,
 8
     SPECIFICALLY HOW IT PERTAINS TO INTERSTATE TRAVEL.
 9
     IT IS SO ORDERED.
10
     Dated:   April 24, 2007               /s/ Lawrence J. O'Neill
11   b9ed48                            UNITED STATES DISTRICT JUDGE
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